   Case 2:14-md-02592-EEF-MBN Document 17153 Filed 10/04/19 Page 1 of 2

                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

                                                                MDL No. 2592
IN RE: XARELTO (RIVAROXABAN)
PRODUCTS LIABILITY LITIGATION                                   SECTION: L

This Document Relates to:                                       JUDGE FALLON

 Danielle Throne, v. Janssen Research &                         MAG. JUDGE NORTH
 Development, et al.; Civil Case No.: 2:15-cv-
 5365


        RESPONSE TO ORDERS TO SHOW CAUSE REGARDING PLAINTIFFS
               WHO HAVE FAILED TO COMPLY WITH CMO 12A
      1. On September 3, 2019, Counsel uploaded an Enrollment Election Form (Brown Greer
         Document ID 672656) and Release Form (Brown Greer Document ID672658), for
         Plaintiff mentioned above, Case No. 2:15-cv-5365.

      2. Counsel had preciously obtained an extension to September 4, 2019 to enter this
         claimant into the settlement.

      3. On September 17, 2019, Counsel received a Notice of Incomplete Enrollment for an
         incorrect Enrollment Form, on the basis that the claimant signed the form on the wrong
         line.

      4. The deadline to cure the Notice of Incomplete Enrollment deficiency is October 8, 2019.

      5.    On October 2, 2019, Counsel received Order to Show Cause, Document No. 16868,
           listing Plaintiff on Exhibit A.

      6. On October 4, 2019, Counsel uploaded a correct Enrollment Election Form (Brown
         Greer Document ID 749954).

      7. WHEREFORE, Counsel respectfully requests that Plaintiff be removed from the Order
         to Show Cause exhibit A, for having timely enrolled into the settlement program and
         curing the deficiency notice. Counsel respectfully requests permission from the Court
         that neither The Lanier Law Firm, PLLC nor Danielle Throne need to attend the Order
         to Cause hearing on October 7, 2019.


                                                  THE LANIER LAW FIRM
                                                  By: /s/Catherine T. Heacox
                                                  Catherine T. Heacox
                                                  126 E. 56th Street, Fl. 6
                                                  New York, NY 10022 Telephone:
                                                  (212) 421-2800
                                                  CTH@Lanierlawfirm.com

                                                   Attorney for Plaintiff
    Case 2:14-md-02592-EEF-MBN Document 17153 Filed 10/04/19 Page 2 of 2



                                 CERTIFICATE OF SERVICE


              I hereby certify that on October 4, 2019, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to the CM/ECF

participants registered to receive service in this member case.

                                                     /s/Catherine T. Heacox
